
PER CURIAM.
We have for review Ross v. State, 804 So.2d 359 (Fla. 4th DCA 2001), which expressly and directly conflicts with the decisions in Ray v. State, 772 So.2d 18 (Fla. 2d DCA 2000), review denied, 791 So.2d 1100 (Fla.2001), and Kwil v. State, 768 So.2d 502 (Fla. 2d DCA 2000). We have jurisdiction. See Art. V, § 3(b)(3), Fla. Const. We accept jurisdiction in this case, quash the decision of the Fourth District Court of Appeal, and remand for reconsideration in light of our decision in State v. Lemon, 825 So.2d 927 (Fla.2002).
It is so ordered.
ANSTEAD, C.J, and WELLS, PARIENTE, LEWIS, QUINCE, CANTERO, and BELL, JJ., concur.
